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US DISTRICTC
NORTHERN DISTRICT OF TEXAS
FILED

UNITED STATES DISTRICT COUR

     

 

 

 

 

NORTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA § |
§ CLERK, U.S. DISTRICT COURT. |
v. § Case No. 3 so-nfoarea ayy eseaL ECD
;
JASON SHEROD BALDWIN (1) §

ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1)
(2)
(3)

(4)

(5)

The defendant must not violate federal, state, or local law while on release.
The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

The defendant must advise the court or the pretrial services office or supervising officer-in writing before making any
change of residence or telephone number.

The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: 1100 Commerce St., Dallas, TX 75242 as directed. —
Place/Date/Time

If blank, defendant will be notified of next appearance.

The defendant must sign an Appearance Bond, if ordered.
 

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ADDITIONAL CONDITIONS OF RELEASE

[FURTHER ORDERED that the defendant’s release i C subject to the condgtions marked below |
(6) The defendant is placed in the custody of: Thin |
Person or organization
Address (only if above is an organization) . ll 0 Siu flman St * 2022
City and state 4 LwA> “TY Tel. No(;
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s co at all court 1308 and (c) notify the court immediately if the

defendant violates a condition of release or is no longer in the custodian’s custody.
Signed: 30 as
Custodi Date as (

7) The defendant must:

a) submit to supervision by and report for supervision to the Supervising Officer 4 [3 Ve =e AS

telephone number 214/753-2500, no later than

wt continue or actively seek employment. od
(c) continue or start an education program. -
(d) surrender any passport to: US) Dig tnt C{ ek y
(e) not obtain a passport or other international travel document.
(f) abide by the following restrictions on personal association, residence, or trave.

   

(g) avoid all contact, directly or indirectly, with Sf person who is or may be a yactim or Mie in the inv hist | Maa

Prosecution, including:

(h) get medicaberpsychiatric "5 RR aa | A\ “Te ee Es Lunes UA

(i) return to custody each o’clock after beirff released ay \ Ye 0 Ai aal for VU ee

schooling, or the following purposes:

(j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer
considers necessary.
(k) not possess a firearm, destructive device, or other weapon.
(1) not use alcohol O at all 0 excessively.
(m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed to
defendant by a licensed medical practitioner.
(n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be
used with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system,
and/or any form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper w
with the efficiency and accuracy of prohibited substance screening or testing.
(0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services
office or supervising officer.
(p) submit to location monitoring as directed by the pretrial services office or supervising officer and participate in one the following
location restriction programs and comply with all program requirements as directed.
CO] (i) Curfew. You are restricted to your residence every day 0 from to
directed by the pretrial services office or supervising officer; or
(ii) Home Detention. You are restricted to your residence at.all times except for employmrent-edueastionpssligions
—ervieesmedical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities approved in advance by the pretrial services office or supervising officer; or
0 (iit) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical
necessities and court appearances or other activities specifically approved by the court.
(q) Stand Alone Monitoring (SAM): Requires the use of Global Positioning System (GPS) tracking to monitor and enforce any other
condition(s) of release (e.g., travel restrictions).
(r) you must pay all or part of the cost of any monitoring program based on your ability to pay as determined by the pretrial services
or supervising officer.
(s) report as soon as possible, to the pretrial services office or supervising officer, every contact with law cri personnel,

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ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of your
release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.
While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.e., in
addition to) to any other sentence you receive.
It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
| tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they
involve a killing or attempted killing.
| If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not more than
$250,000 or imprisoned for not more than five years, or both;
(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of release, to
| appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

: Ad

Defendant's Signature

 

Directions to the Mo States Marshal 5)
The defendant is ORDERED released after processing. ov Monday, O {} 3, ad A 0 ?

Oo The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has posted bond
and/or complied with all other conditions for release. If still in custody, the defend st be produced before the appropriate judge at the time and place
specified.

Date: 5 | 0 O

  

 

——* Judicial Officer’s Signature

DAVID L. HORAN, U.S. MAGISTRATE

 

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY U.S. MARSHAL
 

(u) The defendant shall neither possess nor have under his control any
pornographic, sexually oriented or sexually stimulating materials, including visual,
auditory, telephonic or electronic media, computer programs or services. The
defendant shall not patronize any place where such material or entertainment is
available. The defendant shall not use any sex-related telephone numbers.

(v) The defendant shall not own possess or access any mobile electronic
communication device capable of connecting to the internet, including so-called

“smart” phones, tablets, or watches. Defemdant-mray~utilize-one-deviee-withert

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(w) The defendant shall not have access to any computer.

(x) The defendant shall participate in and comply with the requirements of the
Computer and Internet Monitoring Program, contributing to the cost of the
monitoring in an amount not to exceed $40.00 per month. As part of the
Computer and Internet Monitoring Program,

(i)The defendant shall consent to the probation officer’s conducting
ongoing monitoring of his computer(s) and mobile communication devices.
The monitoring may include the installation of hardware and/or software
systems that allow for the evaluation of computer and mobile electronic
communication device use. The defendant shall not remove, tamper with,
reverse engineer or circumvent the software in any way. The defendant
shall only use authorized computer systems and mobile devices that are
compatible with the software and/or hardware used by the Computer and
Internet Monitoring Program. The defendant shall permit the probation
officer to conduct a preliminary computer and mobile electronic
communication device searches prior to the installation of software. The
monitoring software may be removed at any time during the term of
supervision at the discretion of the probation officer.

(ii) The defendant shall submit to periodic unannounced examination of his
computer(s), storage media, and/or other electronic or Internet-capable
devices performed by the probation officer at a reasonable time and in a
reasonable manner based on reasonable suspicion of contraband evidence in
a violation of supervision. This may include the retrieval and copying of

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(t) The defendant shall not have any form of unsupervised contact with persons
under the age of 18 at any location, including but not limited to, the defendant’s
residence, place of employment, and public places where minors frequent or
congregate, without prior permission of the probation officer.

 
 

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any prohibited data and/or the removal of such systems to conduct a more
thorough inspection. The defendant shall provide written authorization for
release of information from the defendant's Internet service provider(s).

(iii) The defendant shall not use any computer or electronic communication
devices without the prior approval of the probation officer.

(iv) The defendant shall not use any software program or device designed
to hide, alter or delete records and/or logs of the defendant's computer use,
Internet activities, or files stored on the defendant's computer or other
electronic communication devices.

(v) The defendant shall not maintain or create a user account on any social
networking site (e.g., Facebook, Facebook Messenger, Snapchat,
Instagram, Twitter, WhatsApp, Blogspot, MySpace, Tinder, Kik, GroupMe,
AdultFriendFinder, etc.) that allows access to persons under the age of 18,
the exchange of sexually explicit material, chat conversations, or instant
messaging. The defendant shall not view and/or access any web profile of
users under the age of 18.

(vi) The defendant shall not use or possess any gaming consoles or
handheld electronic gaming devices (including, but not limited to Xbox,
PlayStation, Nintendo) without prior permission from the probation officer.

(vii) The defendant shall not use or possess a web cam or any other
hardware that allows for the exchange of video or photographs online.

(viii) the defendant shall not access any service or use any software that
allows for the direct peer-to-peer contact that may include chat rooms, file
sharing or other similar activity, without permission from the probation
officer.

(ix) The defendant shall no use or own any device that allows Internet
access other than authorized by the U.S. Probation Office. This includes,
but is not limited to PDA's, electronic games and cellular/digital telephones
or tablets.

(x) The defendant shall not engage in or utilize any service that allows peer-
to-peer file sharing or file transfer protocol activity.

(xi) The defendant shall be required to log onto his authorized computer
using an assigned user name (true name) and biometric user authentication.

 
